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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA

JEREMY B. HALES,                      :                       Civil Action No.:
                                      :                       1:24-CV-00045-AW-ZCB
           Plaintiff,                 :
     v.                               :
                                      :
LYNETTE MICHELLE LACEY ALEXIS PRESTON :
and                                   :
JOHN COOK,                            :
                                      :
           Defendants                 :


                        REPLY TO PLAINTIFF’S 12(b)(1) OPPOSITION

   (a) “The Court has already determined that the original demand was made in good

       faith.” -- Plaintiff’s 12(b)(1) opposition (Doc # 80), p. 3.


       This is false. The Court determined that the amount in controversy satisfied the

jurisdictional minimum under 28 USC 1332 in reliance on (A) the plaintiff’s contrived

“extortion” claims giving rise to treble damages plus attorney fees, (B) the statement in the

plaintiff’s affidavit (Doc # 8-1, para. 19) that the defendants’ “online posts calling me a child

predator are constant and ongoing to this day,” and (C) the allegation of “using defamatory

statements to influence customers.” As the Court has come to learn, (A) the extortion

claims were interposed without basis in fact (see Doc # 63 dismissing extortion); (B) the

statement in paragraph 19 of the plaintiff’s affidavit was falsely interposed to influence the

outcome of the prior 12(b)(1) motion; and (C) the plaintiff’s allegation the defendants “used

their defamatory statements to influence customers” doesn’t allege any additional actions.


       There is not, nor was there ever, the possibility of recovering $75,000. The plaintiff

clearly invoked federal jurisdiction in bad faith.
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   (b) The plaintiff’s memorandum (Doc # 80) states on page 5:


       Regarding the motion’s claim that Plaintiff cannot identify a single person who
       saw the defamatory signs “other than Zim Padgett, Therese Granger, or
       Stephen Granger,” Defendants’ counsel disproved this himself recently in the
       deposition of Ms. Amanda Martin (Defendant Preston’s Court Appointed
       Victims Advocate), an employee of the Eighth Judicial Circuit In The State Of
       Florida – who testified that she saw the signs when social media posts and
       links to those defamatory signs were sent to her by two different people via
       email. See Transcript attached as Exhibit “2.”



       This distorts Ms. Martin’s testimony. “The motion’s claim that Plaintiff cannot identify

a single person who saw the defamatory signs ‘other than Zim Padgett, Therese Granger,

or Stephen Granger’” refers to page 9 of defendants’ memorandum (Doc # 68): “The plaintiff

admitted in his deposition that he cannot identify a single person who saw, understood and

believed the signs:… Q. [C]an you identify any person other than Zim Padgett, Therese

Granger or Stephen Granger that saw the signs as they were posted?”


       The plaintiff leaves out “as they were posted” to mislead the Court into believing that

Ms. Martin “seeing the signs” on YouTube somehow supports the plaintiff’s claim. In fact,

the plaintiff admitted in his deposition to knowing of nobody who saw the signs as they were

posted other than the three people who found them: “If anybody else comes forward, I will

name them.” He hasn’t named anybody.

                                            *******

       (c)    The plaintiff states on pages 5-6 of Doc # 80: “Regarding anyone directly

contacting Whatnot Inc. to use defamatory statements to interfere with Plaintiff’s relationship

with Whatnot Inc., again Defendants’ counsel has recently provided such evidence. This

occurred Monday, February 17, 2025, when Defendants’ counsel emailed Mr. Kam – a

Whatnot Inc. representative….” [followed by excerpts of the email in question].


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       Besides the plaintiff’s tacit admission of having no other evidence to support his

claim of interference, the undersigned did not email Whatnot representative “Mr. Kam.” The

quoted email was to the plaintiff’s counsel in response to an email from the plaintiff’s

counsel that he sent to Mr. Kam and inexplicably “Cc’d” the undersigned, about their

confidentiality concerns. The plaintiff’s memorandum omitted the beginning of the

undersigned’s email to make it misleadingly appear that the undersigned independently

contacted Mr. Kam, but the undersigned’s “Reply all” was “To” Atty. Shochet with automatic

“Cc” to Mr. Kam, and his reply email addressed Mr. Shochet but not Mr. Kam:


               “Mr. Shochet, I do not know what machinations you are orchestrating
       by copying me on this communication. I have no obligation to provide a
       proposed order of confidentiality, although I did specifically provide a
       stipulation to maintain confidentiality, in writing, but you ignored that because
       your purpose has been to exploit the issue of the production of this contract
       for as long as possible in order to waste time and create issues for court
       motions, to generate YouTube content.”

                                         *******

        (d)   The plaintiff and his counsel accuse the undersigned of fabricating a

quotation from legal authority, going so far as to reprint the entire two pages of a U.S.

Supreme Court decision, Rosado, they claim was falsely quoted in the defendants’

memorandum. See Doc. # 80 pp. 7-9, concluding:


       Defendants have obviously fabricated these phrases from whole cloth while
       presenting them as purportedly being from that United States Supreme Court
       opinion [Rosado]. Exceptionally, Defendants’ use of a quotation mark
       misleads this Court into thinking that this is a direct quote from the cited
       opinion. This also should not be well taken.

       The alleged “fabrication” is in fact a direct, exact quote from the Shanaghan decision

which is cited following the quote, and within which quote is an internal citation by the

Shanaghan court to the U.S. Supreme Court decision in Rosado. See Doc # 68, pp. 11-12.

The defendants’ memorandum neither quotes nor independently cites Rosado and there is

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no representation that any of the quoted language came from Rosado. But to further the

false accusation, the plaintiff leaves off the last sentence of the quote from the defendants’

memorandum as well as the Shanaghan citation itself. See Doc # 80, p.7:


         “In particular, it is important to consider whether the amount claimed in the complaint

was made in good faith, or whether plaintiff was consciously relying on flimsy grounds to get

into federal court. (sic) See Rosado v. Wyman (sic), 397 U.S. 397, 404- 05, 90 S.Ct. 1207,

1213-14, 25 L.Ed.2d 442 (1970) (distinguishing initial "insubstantiality" from subsequent

"mootness"). [omitted by the plaintiff:] Another critical equitable factor is the existence of

any state limitations bars to refiling in state court. See Ridenour v. Andrews Federal Credit

Union, 897 F.2d 715, 722 (4th Cir. 1990).” Shanaghan v. Cahill, 58 F.3d 106, 112 (4th Cir.

1995).


         The undersigned does not fabricate legal authority and has never been so falsely

accused in 27 years of litigation practice. Only the plaintiff’s accusation is fabricated.

                                             *******

         (e)    To bolster the false claim of a fabricated quotation, on pages 9-10 of Doc #

80 the plaintiff rehashes a prior, also false, accusation that the defendants cited fake

authority in their prior 12(b)(1) motions that were filed pro se:


         “Moreover, this is not the first time Defendants have done this – while attempting to

argue the minimum amount in controversy: … ‘Defendant misstates and misrepresents the

law to this Court, by citing to an opinion which does not exist.’” (quoting the plaintiff’s own

response to the prior 12(b)(1) motion).


         As known to the plaintiff’s counsel, there was no citation “to an opinion which does

not exist” but rather a mis-citation because there were two reported decisions from the

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same case, leading to an honest mix-up. The defendants filed a Correction of Citation (Doc

# 10) to directly address the error and clarify the correct citation. Nevertheless, as if Doc #

10 did not exist the plaintiff misleads the Court that the defendants fabricated authority.


                                              ******

       The plaintiff no longer claims a minimum amount in controversy of $75,000.

       The plaintiff’s 12(b)(1) opposition does not attempt to argue that there remains a

$75,000 minimum amount in controversy,1 but rests on the absurd and unsupported notion

that once a plaintiff hoodwinks the U.S. District Court to exercise federal jurisdiction, the

Court may not later dismiss the case but must allow the abuse of federal jurisdiction to

continue even after finding that it was invoked in bad faith with contrived, baseless claims.


       And instead of trying to justify interposing factually baseless “extortion” claims and

submitting an affidavit with a false statement about “online posts calling me a child predator”

to influence the exercise of federal jurisdiction, the plaintiff’s opposition ludicrously and

falsely asserts that the cited legal authority (Shanaghan) supporting dismissal of cases like

this (“consciously relying on flimsy grounds to get into federal court”) is fabricated.


                                           Conclusion

       This lawsuit has consumed the Court’s time and the defendants’ lives for long

enough. The plaintiff cannot meet the jurisdictional minimum. The plaintiff abused federal

jurisdiction. The plaintiff tries to again mislead the Court to overcome dismissal. His lawsuit

should be dismissed at this time.



1 Moreover, the plaintiff’s counsel emailed February 24 admitting, in response to a

document request for evidence of the plaintiff’s lost income, that damages are purely
speculative: “There is no such ‘evidence’ at this time, as this will require an expert, who is
being retained. His report will be the evidence of lost profits.”
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                                     Defendants Preston and Cook, by:

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                                     Certification of Service

       I hereby certify that on February 25, 2025, a copy of the foregoing was emailed
to counsel of record for the plaintiff:

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       /s/ Bruce Matzkin




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